                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF TENNESSEE
                                   NASHVILLE DIVISION

EQUAL EMPLOYMENT OPPORTUNITY              ))
COMMISSION,                                )
                                           )
                  Plaintiff,               ) CIVILACTIONNO. 3:20cv00912
                                           )
            v.                             ) Judge William B. Campbell
                                           ) Magistrate Judge Barbara Holmes
MEDICONE MEDICAL RESPONSE OF               )
TENNESSEE, INC.; and MEDICONE              )
MEDICAL RESPONSE OF MIDDLE                 )
TN, INC.                                   )
                                           )
                  Defendants.              )
______________________________________________________________________________

                              CONSENT DECREE
______________________________________________________________________________

        Plaintiff Equal Employment Opportunity Commission (the “Commission”) filed this

lawsuit against MedicOne Medical Response of Tennessee, Inc. and MedicOne Medical

Response of Middle TN, Inc. (“MedicOne”) on October 22, 2020. The Commission alleged

MedicOne violated Title VII of the Civil Rights Act when it subjected Jena Phillips and a class

of female employees to sexual harassment. The Commission further alleged MedicOne retaliated

against Phillips when it fired her for complaining about the harassment.

        The Parties engaged in good faith negotiations and now consent to entry of this Decree

by this Court. This Decree does not constitute a finding on the merits of the case. The Parties

stipulate the terms and conditions of this Decree are fair, reasonable, adequate, and serve the

public interest in eradicating sexual harassment and retaliation.

        This Decree represents the final and complete agreement between the Parties regarding

the resolution of this civil action.

        In the event the Court does not approve this Decree, the Parties agree neither of them will



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attempt to admit the Decree in evidence in this or any subsequent lawsuit.

       After examining the terms of this Decree, and based on the pleadings, record, and

stipulations of the Parties, the Court hereby APPROVES the Decree and FINDS as follows:

                                       I.     JURISDICTION

       The Court has jurisdiction over the Parties and the subject matter of this action.

                    II.     SCOPE AND DURATION OF THIS DECREE

       A.      The duration of this Decree and all obligations shall remain effective for four

years from the date of its entry by the Court.

       B.      During the term of this Decree, the Court shall retain jurisdiction over this case

for purposes of compliance and any disputes that may arise.

                                  III.      ISSUES RESOLVED

       A.      This Decree resolves all issues and claims arising from Orion Phillips’ Charge of

Discrimination against MedicOne Medical Response, EEOC Charge No. 494-2018-01756.

       B.      This Decree resolves all issues and claims arising from Julie Linn’s Charge of

Discrimination against MedicOne Medical Response, EEOC Charge No. 494-2019-00887.

       C.      This Decree resolves all issues and claims arising from the Commission’s

Complaint filed against MedicOne, Civil Action No. 3:20-cv-00912.

                                 IV.        INJUNCTIVE RELIEF

       A.      MedicOne, its officers, agents, servants, managers, and employees are enjoined

from failing to investigate employees’ complaints of sexual harassment and/or retaliation.

       B.      MedicOne, its officers, agents, servants, managers, and employees are enjoined

from using its influence with the state licensure board to threaten or report to threaten employees

who complain of sexual harassment, in retaliation for the employee’s complaints about the


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unlawful behavior.

          C.   MedicOne’s officers are enjoined from propositioning employees for sexual

favors or relations.

                       V.      REVISE SEXUAL HARASSMENT POLICY

          A.   MedicOne, its officers, agents, successors and other persons in active concert or

participation with it, shall revise its sexual harassment policy.

          B.   The revised Policy shall state MedicOne does not tolerate or condone sexual

harassment.

          C.   The revised Policy shall give a non-exhaustive list of examples of prohibited

conduct. Such examples should include, but are not limited to, unwelcome touching, requests for

sexual favors in exchange for better shifts or better treatment, and any other conduct of a sexual

nature.

          D.   The Policy shall create a 1-800- number to report complaints of harassment.

          E.   The Policy shall identify, in detail, the procedure MedicOne will follow when

investigating the complaint.

          F.   The Policy shall state that complaints of sexual harassment will be handled as

confidentially as possible.

          G.   The Policy shall state that employees who make claims of harassment or provide

information related to such claims will be protected against retaliation.

          H.   The Policy shall state MedicOne will take immediate and appropriate corrective

action if it finds sexual harassment has occurred.

                                VI.     POLICY DISTRIBUTION

          A.   MedicOne shall distribute the revised policy to each of its employees at all of its


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locations within thirty (30) days date of this Decree.

        B.        Each employee shall sign an acknowledgement that they have received the

revised policy.

        C.        MedicOne shall retain the written acknowledgement of such receipt in each

employee’s file.

        D.        Upon hire of any new employee, MedicOne shall ensure all employees receive a

copy of the revised sexual harassment policy.

        E.        MedicOne shall post a copy of the revised sexual harassment policy in a visible

area at all of its locations.

                                    VII.   MONETARY RELIEF

        A.        MedicOne shall pay a total of $450,000 to resolve this litigation.

        B.       The Commission shall allocate the settlement proceeds for each claimant in
                 this
case at its sole discretion.

        C.        The Commission shall provide a list identifying the amounts MedicOne shall pay

to each claimant, along with relevant identifying information, within ten (10) business days of

this Court’s entry of the decree. The Commission’s list will contain information regarding what

portion of the settlement proceeds are allocated for back pay and what portions are allocated for

compensatory damages. MedicOne will issue W-2 forms and 1099 forms to the claimants for the

appropriate amounts.

        D.        MedicOne shall issue payment within twenty (20) business days of receiving the

distribution list from the Commission.

        E.        MedicOne      shall   submit   proof   of   payment,    and   any    accompanying

correspondence, to the Commission within five (5) days of mailing. The proof of payment may


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be sent via e-mail to the Commission at EEOC-MEDO-decreemonitoring@eeoc.gov.

        F.     Late payment shall be subject to the accrual of interest as outlined in 28 U.S.C. §

1961.

        G.     As a condition of receiving payment, each Claimant, with the exception of Julie

Linn, will execute the form Releases attached hereto as Appendix A. Julie Linn will execute the

form Release attached hereto as Appendix B.

        H.     MedicOne shall make payments in the form of a cashier’s check.

                                        VIII. TRAINING

        A.     MedicOne agrees to provide annual, in-person sexual harassment training to all

employees. The training shall occur every six months for the duration of this Decree.

        B.     An attorney, a certified Society for Human Resource Management (SHRM)

professional, or another similarly qualified trainer shall conduct the training.

        C.     Initial training will occur within sixty (60) days of entry of this Decree.

        D.     The training session shall last a minimum of two hours.

        E.     The training shall consist of, amongst other things, the following:

               i.      explanation of Title VII and its prohibitions against sexual harassment and

                       retaliation;

               ii.     review of MedicOne’s sexual harassment policy;

               iii.    explanation of the duty to, and the manner of, properly reporting sexual

                       harassment;

               iv.     A Human Resource representative will attend the training and make a

                       statement during the training session. The statement shall include the

                       following:


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                      a.      MedicOne does not tolerate any forms of sexual harassment or

                              retaliation;

                      b.      All employees are responsible for reporting any sexual harassment

                              or retaliation that they witness;

                      c.      Failure to report harassment will result in disciplinary action;

                      d.      All employees, regardless of job title or description, are required to

                              treat each other with respect.

                      e.      Harassment or mistreatment of subordinates or coworkers may

                              result in disciplinary action, up to and including termination.

       F.     Within twenty (20) days of the training, MedicOne must submit to the EEOC:

              i.      a copy of the training materials,

              ii.     documentation showing the training occurred, and

              iii.    a signed roster showing the names of the employees who attended the

                      training.

                                   IX.       RECORDKEEPING

       MedicOne agrees to collect, retain and provide the following information to the

Commission upon request, but never more than once in a six (6) month period, during the

duration of this Consent Decree:

       1.     A list of all employees who complain about sexual harassment;

       2.     Steps MedicOne took to investigate the Complaint;

       3.     A copy of MedicOne’s response to the complaint(s).

The requested information should be made available for inspection and copying within fifteen

business (15) days of receiving a written request from EEOC for such documents.


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                                      X.     REPORTING

       MedicOne shall provide the Commission with semi-annual reports by June 1 and

December 1 for the duration of this Decree. The report shall include the following:

       1.      Certification that MedicOne conducted the training listed in Section VII;

       2.      Copy of the training materials;

       3.      Signed roster showing the names of the employees who attended the training; and

       4.      Records required in Paragraph IX.

                                  XI.      NOTICE POSTERS

       A.      MedicOne shall post, for the duration of the decree, the Notice to Employees

attached as Appendix C.

       B.      The Notice shall be posted in a conspicuous location in any non-public area of all

MedicOne facilities.

                       XII.    MONITORING AND ENFORCEMENT

       A.      The Commission may monitor MedicOne’s compliance with the terms of this

Consent Decree by:

               i.      Examining documents or other records required to be made or kept by this
                       Decree; and

               ii.     Interviewing employees and management concerning the requirements of
                       and compliance with this Decree.

       B.      If the Commission, at its sole discretion, finds MedicOne failed to comply with

the Decree, the Commission shall provide MedicOne notice of the failure and allow it a period of

fifteen (15) calendar days from receipt of the notice to comply.

       C.      If, after the 15-day period has expired, MedicOne failed to comply, the

Commission may then petition this Court for relief. Such relief may include further permanent or


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temporary injunctions, monetary relief, costs, and/or penalties for contempt of court.

                                      XIII. SEVERABILITY

        A.     If one or more provisions of this Decree are rendered unlawful or unenforceable

as a result of a legislative act or a decision by a court of competent jurisdiction, the following

will apply to ensure that this Decree continues to effectuate the intent of the parties.

        B.     The provisions of this Decree which are not rendered unlawful, unenforceable, or

incapable of performance as a result of such legislative act or court decision will remain in full

force and effect and the parties’ responsibilities will not abate as to any and all provisions that

have not been rendered unlawful or unenforceable, except to the extent that the intent of this

Decree would be undermined.

                                XIV. SUCCESSOR LIABILITY

        A.     For the duration of this Decree, prior to any sale, merger, or consolidation of the

company, MedicOne shall provide written notice and a copy of this Decree to any successors,

assigns, subsidiaries, affiliates, or any other corporation or entity that acquires, merges or

consolidates. Any surviving entities that exist upon completion of the acquisition, merger or

consolidation shall remain fully liable for compliance with this Decree.

        B.     MedicOne shall provide notice to the Commission forty-five (45) days prior to

any assignment, succession, acquisition, merger, or consolidation.

                                XV.     COSTS AND EXPENSES

        The parties shall bear their own costs, attorney fees, and expenses arising from this

litigation.

                    XVI. NOTICES AND OTHER COMMUNICATION

        All notices, certifications, reports, or other communications that this Decree requires the


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parties to exchange shall be in writing and transmitted as follows:

       1.       To the Commission, via electronic mail to:
                EEOC-MEDO-decree-monitoring@eeoc.gov.

       2.       To MedicOne via e-mail to:
                luther.wright@ogletree.com

       Any party may change the contact information by written notice to the other parties

setting forth the new information.


                                       29th DAY OF ____________,
                IT IS SO ORDERED THIS _____         November     2021.


                                      _______________________________________
                                      WILLIAM L. CAMPBELL, JR.
                                      UNITED STATES DISTRICT COURT JUDGE
Agreed to By:

Faye A. Williams
Regional Attorney                                   /s/ Luther Wright, Jr._____________
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MS Bar No. 103317                                   Response     of   Tennessee,   Inc.  and
Roslyn.Griffin-Pack@eeoc.gov                        MedicOne Medical Response of Middle TN,
                                                    Inc.
EQUAL EMPLOYMENT OPPORTUNITY
COMMISSION
Memphis District Office
                                                9



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1407 Union Avenue, Suite 900
Memphis, TN 38104
(901) 701-6445




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                                         APPENDIX A


                                    RELEASE OF CLAIMS

       In consideration for ________________ paid to me by MedicOne Medical Response of

Middle TN, Inc. in connection with the resolution of EEOC v. MedicOne Medical Response of

Tennessee, Inc.; and MedicOne Medical Response of Middle TN, Inc., Civil Action No.

3:20CV00912 filed in the United States District Court for the Middle District of Tennessee,

Nashville Division I waive my right to recover for any claims of sex discrimination and

retaliation that I had against MedicOne prior to the date of this Release and that were included in

the claims alleged in EEOC’s Complaint in the Case.


________________________                             ______________________________
Date                                                 [Name]




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                                         APPENDIX B


                                    RELEASE OF CLAIMS

       In consideration for ________________ paid to me by MedicOne Medical Response of

Middle TN, Inc. in connection with the resolution of EEOC v. MedicOne Medical Response of

Tennessee, Inc. and MedicOne Medical Response of Middle TN, Inc., Civil Action No.

3:20CV00912 filed in the United States District Court for the Middle District of Tennessee,

Nashville Division and EEOC Charge No. 494-2019-00887, I waive my right to recover for any

claims of sex discrimination and retaliation that I had against MedicOne prior to the date of this

Release and that were included in the claims alleged in EEOC’s Complaint in the Case and that

were alleged in EEOC Charge No. 494-2019-00887.


________________________                            ______________________________
Date                                                Julie Linn




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                                          APPENDIX C

                                      NOTICE TO EMPLOYEES

        MedicOne posts this Notice as part of a Consent Decree entered by the United States
District Court for the Middle District of Tennessee in the matter of EEOC v. MedicOne Medical
Response of Tennessee, Inc.; and MedicOne Medical Response of Middle TN, Inc.

        Title VII of the Civil Rights Act of 1964, as amended (Title VII), prohibits discrimination
against any employee or applicant for employment because of the individual’s sex with respect
to hiring, promotion, firing, compensation, or other terms, conditions or privileges of
employment. Title VII further prohibits employers from retaliating against employees who
protest sex discrimination, including sexual harassment.

        MedicOne supports and will fully comply with federal law in all aspects and will not take
any action against any individual because they have exercised their rights under the law.

       Specifically, MedicOne prohibits sexual harassment by executive officers, management,
and non-management employees and will take prompt and appropriate action to correct and
prevent any such behavior.

       MedicOne encourages its employees, if they see or hear sexual harassment, to report
sexual harassment in the workplace and will not retaliate in any manner against any individual
who makes such a report.

       This Notice will remain posted for a period of three (3) years.

                                             SIGNED THIS ____DAY OF __________, 2021


                                             __________________________________
                                             President
                                             MedicOne Medical Response of Tennessee, Inc.




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